AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                          Middle District of Tennessee

                    United States of America
                               v.                                          )
                   Jose Manuel Sotelo-Figueroa                             )
                                                                           )    Case No:       3:13-00011
                                                                           )    USM No: 21480-075
Date of Original Judgment:         Nov. 20, 2013                           )
Date of Previous Amended Judgment: N/A                                     )    Dumaka Shabazz
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of X the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ’ DENIED. X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of eighty-seven (87) months is reduced to         seventy (70) months          .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                         Nov. 20, 2013            shall remain in effect.
IT IS SO ORDERED.

Order Date:             December 8, 2014
                                                                                                         Judge’s signature


Effective Date:         November 1, 2015                                               Todd J. Campbell, U.S. District Judge
                     (if different from order date)                                                    Printed name and title



             Case 3:13-cr-00011                 Document 94              Filed 12/08/14                Page 1 of 1 PageID #: 190
